Case No. 1:08-cv-01735-RPM-KLM Document 1-2 filed 08/14/08 USDC Colorado pg1of1

Court Name: U.S. District Court, Colorad

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Division: t

Receipt Nuaber: COXB12283
Fashier ID: sq

Transaction Date: 88/14/2888
Payer Name: DAVID LARSON

CIVIL FILING FEE
For: DAVID LARSON
Apount: $358,868

CREDIT CARD
Ant Tendered: $358.98

Total Due: $350.68
Total Tendered: $350.98
Change Art: $4.88

~ BB-CV-1735

fi fee of $45.08 will be assessed on
any returned check.
